Case 1:03-md-01570-GBD-SN Document 7769-1 Filed 03/20/22 Page 1 of 2

United States District Court
SOUTHERN DISTRICT OF NEW YORK

THE PRESIDENT OF THE UNITED STATES OF AMERICA
Tothe Marshal ofthe Southern District of New York. GREETING:

YOU ARE COMMANDED, that of the goods and chattels of The Taliban, including the blocked assets of

Da Afghanistan Bank held by the Federal Reserve Bank of New York or any other financial institution

in your district you cause to be made the sum of One hundred thirty-eight million four hundred eighteen thousand

and seven hundred forty-one dollarsand Zero cents, ($138,418,741.00 )

which lately in the United States District Court of the United States for the Southern District of New York, in the Second

Circuit, John Doe |, John Doe 2, John Doe 3, John Doe 4, John Doe 5, John Doe 6, John Doe 7

recovered against the said The Taliban

in an action between JOhn Doe 1, John Doe 2, John Doe 3, John Doe 4, John Doe 5, John Doe 6, John Doe 7

PLAINTIFF and Phe Taliban, Al-Qaeda, and The Haqqani Network

DEFENDANT. in favor of said P/aintiffs - John Does | through 7

20th

as appears by the record filed in the Clerk's Office of said District Court on the day

2
of January , in the year of avd

and if sufficient personal property of the said judgment debtor cannot be found in your District, that then you cause the
same to be made out of the real property belonging to such judgment debtor on the above-mentioned day, or at any time
thereafter, in whose hands soever the same may be, and return this execution within sixty days after its receipt by you, to
the Clerk of said District Court.

WITNESS, the Honorable Laura T. Swain, Chief fydee of the United States District Court, for the Southern
District of New York, at the City of New York, on the ans day of ac PT UVB LO ~~ in the
year of our Lord o 2 | , and of the Independence of the United States the two hundred. oh

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SDNY Web

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United States District Court
SOUTHERN DISTRICT OF NEW YORK

John Does 1 through 7

-against-

The Taliban, Al-Qaeda, The Haqqani Network and agencies and instrumentalities thereof
EXECUTION AGAINST PROPERTY

Attorney for
Plaintiffs, Jonn Doe 1, John Doe 2, John Doe 3,
John Doe 4. John Doe 5, John Doe 6, Jahn Doe 7

Borough of Manhattan
Citv of New York

Orlando do Campo, Esq.
To the Marshal:
You will levy and collect

eighteen thousand seven hundred forty-one Dollars
and zero cents.
with interest from the 5th
day of November — 2020

hesides vour fees, ¢

Attorney
